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Fu£o BY D.C

IN THE UNITED sTATEs DISTRICT COURT ’
FoR THE wESTERN DISTRICT 0F TENNESSEE 05 AUG ll FH 3.

wEsTERN DIvIsIoN '53

 

 

MICHAEL JOSEPH KIRKPATRICK,
Petitioner,

vs. No. 03-2802-Ml/P

T.C. OUTLAW,

Respondent.

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ORDER DENYING MO'I‘IONS TO AMEND AND FOR RECONSIDERATION

 

Petitioner Michael Joseph Kirkpatrick, Bureau of Prisons
inmate registration number 20806-018, an inmate at the Federal
Correctional Institution in.Memphis (“FCI-Memphis”), filed.a habeas
petition pursuant to 28 U.S.C. § 2241 on October 28, 2003, along
with a supporting memorandum. Kirkpatrick paid the habeas filing
fee on December 9, 2003. The petition alleged that Kirkpatrick was
denied the assistance of counsel on direct appeal. The Court issued
an order on April 28, 2004, denying the petition and certifying
that an appeal would not be taken in good faith. Judgment was
entered on April 28, 2004. Kirkpatrick filed a motion for
reconsideration on May 18, 2004, which the Court construed as a

motion for relief from judgment pursuant to Fed. R. Civ. P. 60(b)

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with Rule 58 and/or 79{3) FFtCP on cf §§ ;Q;J

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and, as so construed, denied the motion in an order issued on
December 28, 2004.

In the meantime, on December 16, 2004, Kirkpatrick filed
a document, entitled “Application. for‘ Writ of Original Habeas
Corpus.” On January 19, 2005, Kirkpatrick filed a document,
entitled “Final Motion for Reconsideration in Knowledge of the
Wrong (and) Failure to Grant the Writ of Original Hebeas [sic]
Corpus to Correct this Constitutional Wrong by the Pleadings
Herewith.” On January 21, 2005, the Clerk docketed a letter from
Kirkpatrick to the Court presenting additional argument in favor of
his petition. On January 26, 2005, Kirkpatrick filed a document
entitled “Motion to Clarify the Change[s] and Absent Entry[s].”

In his December 16, 2004, filing, Kirkpatrick seeks to
amend his habeas petition, pursuant to 28 U.S.C. § 2242 and Fed. R.
Civ. P. 15. However, a motion to amend is inappropriate in this
case because judgment was entered dismissing the petition on April
28, 2004. Moreover, the Various factors cited by Kirkpatrick, such
as the presence of a new Warden at FCI-Memphis,1 do not alter the
conclusion, expressed in the two previous orders, that the matters
presented in this petition are not appropriate grounds for relief

under 28 U.S.C. § 2241. The motion to amend is DENIED. To the

 

1 As Petitioner has pointed out, T.C. Outlaw is now the Warden at FCI-
Memphis. The Clerk is ORDERED to correct the docket to reflect that Warden
Outlaw, and not former FCI-Memphis Warden Randy Davis, is now the Respondent in
this action.

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extent the December 16, 2004, filing can be construed as another
motion for reconsideration, it is DENIED.

In his January 19, 2005, filing, Kirkpatrick points out
that the order issued on December 28, 2004, did not address his
December 16, 2004, motion. The December 16, 2004, filing has been
addressed in this order. Kirkpatrick also argues that it was
inappropriate for his May 18, 2004, filing to be construed as a
motion for reconsideration pursuant to Fed. R. Civ. P. 60(b). In
this case, however, Rule 60(b) was the only provision of the
Federal Rules of Civil Procedure that was applicable, as
Kirkpatrick did not file a timely motion pursuant to Fed. R. Civ.
P. 59(e). The January 19, 2005, motion for reconsideration is
DENIED .

In the letter filed on January 21, 2005, Kirkpatrick
points out similarities between his case and that of Dr. Samuel
Sheppard, who was convicted of murdering his wife in 1954. In this
letter, Kirkpatrick argues that he is factually innocent of the
crimes for which he has been convicted, and he also asserts various
due process violations in the handling of the criminal case. Again,
however, as stated in the April 28, 2004, order, this Court is
unable to afford relief to Kirkpatrick on any of these matters
because they pertain to the imposition of his sentence rather than
its execution. 04/28/04 Order at 3-4. Moreover, although

Kirkpatrick now claims that he is actually innocent, none of the

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various factors he cites constitutes new evidence that was not
available at the time of his trial. To the extent this letter is
another motion for reconsideration, it is DENIED.

In his January 26, 2005, filing, Kirkpatrick questions
why the case number is listed. as “2:03-cv-02802-JPM-tmp.” The
designation “tmp” refers to the magistrate judge assigned to this
matter. Nothing in the style in which the case number is listed on
the docket sheet has any bearing on the proposed amendment filed by
this Petitioner on December 16, 2004.

Next, Kirkpatrick appears to question why the judgment is
listed prior to his December 16, 2004, amendment. Specifically, he
contends that this fact is evidence that someone is attempting to
take advantage of him. As previously noted, however, the judgment
was entered on April 28, 2004, more than seven months before the
December l6, 2004, motion was filed.

Finally, Kirkpatrick questions why some of the documents
he recently filed were not included on a copy of the docket sheet
he obtained on January 20, 2005. The date on which an item is
stamped “received” by an intake clerk is not necessarily the same
date it is entered on the docket, which is why each docket entry
states the date on which each item was received and entered. Each
document submitted by Kirkpatrick was entered on the docket no

later than January 26, 2005.

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For the reasons previously stated, Kirkpatrick's motions

are DENIED in their entirety.

IT IS SO ORDERED this §§ day of 2005.

M@Qi

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

    
 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
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Michael Joseph Kirkpatrick
FCI-l\/[El\/[PH[S

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Federal Correctional Institute
P. O. BoX 34550

Memphis7 TN 3 8184--05 5

Honorable J on McCalla
US DISTRICT COURT

